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           EXHIBIT 1
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                            ym               DRUG ETIFORCEMEIIT AnnunISTRATIon


         www.dea.gov                                                                      Washington, D.C. 20537
                                                                                         December 27, 2007




                                                                                       In reference to registration

         Dear Registrant:
                 This letter is being sent to every entity in the United States registered with the Drug
         Enforcement Administration (DEA) to manufacture or distribute controlled substances. The purpose
         of this letter is to reiterate the responsibilities of controlled substance manufacturers and distributors
         to inform DEA of suspicious orders in accordance with 21 CFR 1301.74(b).

                In addition to, and not in lieu of, the general requirement under 21 USC 823, that
         manufacturers and distributors maintain effective controls against diversion, DEA regulations require
         all manufacturers and distributors to report suspicious orders of controlled substances. Title 21 CFR
         1301.74(b), specifically requires that a registrant "design and operate a system to disclose to the
         registrant suspicious orders of controlled substances." The regulation clearly indicates that it is the
         sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
         approve or otherwise endorse any specific system for reporting suspicious orders. Past
         communications with DEA, whether implicit or explicit, that could be construed as approval of a
         particular system for reporting suspicious orders, should no longer be taken to mean that DEA
         approves a specific system.

                The regulation also requires that the registrant inform the local DEA Division Office of
         suspicious orders when discovered by the registrant. Filing a monthly report of completed
         transactions (e.g., "excessive purchase report" or "high unit purchases") does not meet the regulatory
         requirement to report suspicious orders. Registrants are reminded that their responsibility does not
         end merely with the filing of a suspicious order report. Registrants must conduct an independent
         analysis of suspicious orders prior to completing a sale to determine whether the controlled
         substances are likely to be diverted from legitimate channels. Reporting an order as suspicious will
         not absolve the registrant of responsibility if the registrant knew, or should have known, that the
         controlled substances were being diverted.

                 The regulation specifically states that suspicious orders include orders of an unusual size,
         orders deviating substantially from a normal pattern, and orders of an unusual frequency. These
         criteria are disjunctive and are not all inclusive. For example, if an order deviates substantially from a
         normal pattern, the size of the order does not matter and the order should be reported as suspicious.
         Likewise, a registrant need not wait for a "normal pattern" to develop over time before determining
         whether a particular order is suspicious. The size of an order alone, whether or not it deviates from a
         normal pattern, is enough to trigger the registrant's responsibility to report the order as suspicious,
         The determination of whether an order is suspicious depends not only on the ordering patterns of the
         particular customer, but also on the patterns of the registrant's customer base and the patterns
         throughout the relevant segment of the regulated industry.




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                    Registrants that rely on rigid formulas to define whether an order is suspicious may be failing
            to detect suspicious orders. For example, a system that identifies orders as suspicious only if the
            total amount of a controlled substance ordered during one month exceeds the amount ordered the
            previous month by a certain percentage or more is insufficient. This system fails to identify orders
            placed by a pharmacy if the pharmacy placed unusually large orders from the beginning of its
            relationship with the distributor. Also, this system would not identify orders as suspicious if the order
            were solely for one highly abused controlled substance if the orders never grew substantially.
            Nevertheless, ordering one highly abused controlled substance and little or nothing else deviates
            from the normal pattern of what pharmacies generally order.

                   When reporting an order as suspicious, registrants must be clear in their communications with
            DEA that the registrant is actually characterizing an order as suspicious. Daily, weekly, or monthly
            reports submitted by a registrant indicating "excessive purchases" do not comply with the
            requirement to report suspicious orders, even if the registrant calls such reports "suspicious order
            reports."

                   Lastly, registrants that routinely report suspicious orders, yet fill these orders without first
            determining that order is not being diverted into other than legitimate medical, scientific, and industrial
            channels, may be failing to maintain effective controls against diversion. Failure to maintain effective
            controls against diversion is inconsistent with the public interest as that term is used in 21 USC 823
            and 824, and may result in the revocation of the registrant's DEA Certificate of Registration.

                   For additional information regarding your obligation to report suspicious orders pursuant to 21
            CFR 1301.74(b), I refer you to the recent final order issued by the Deputy Administrator, DEA, in the
            matter of Southwood Pharmaceuticals Inc., 72 FR 36487 (2007). In addition to discussing the
            obligation to report suspicious orders when discovered by the registrant, and some criteria to use
            when determining whether an order is suspicious, the final order also specifically discusses your
            obligation to maintain effective controls against the diversion of controlled substances.


                                                                           Sincerely,




                                                                             ph T. Rannazzisi
                                                                        Deputy Assistant Administrator
                                                                        Office of Diversion Control




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